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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
Plaintiff,
vs. NO. CR-20-0243-001-HE
TRAYMON EUREAL GREEN,
Defendant.
ORDER
The United States has moved for a continuance of the trial of this case, now set on
the court’s December 2020 trial docket. The motion indicates defendant has not received
necessary discovery and that defense counsel has scheduling conflicts. Defendant Green
joins in the motion for continuance.
Based on the reasons stated in the motion, and in light of the restrictions on jury
trials due to the COVOID-19 pandemic, the court concludes the motion [Doc. #14]
should be and is GRANTED and that the ends of justice served by the granting of a
continuance outweigh the interests of the defendant and of the public in a speedy trial.
See Gen. Ord. 20-23. The trial of this case is CONTINUED to the court’s February
2021 trial docket. The deadline for pretrial motions and notices is extended to January
15, 2021.

IT IS SO ORDERED.

Dated this 17th day of November, 2020. Slbe

OEAEATON
TED STATES DISTRICT JUDGE
